 Case 5:18-cv-00560-RGK-AGR Document 115 Filed 09/23/21 Page 1 of 2 Page ID #:717



1
2
3
4
5
6
7
8                               UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
10
11   GLEN CHARLES KLEMENT,                   )      NO. EDCV 18-560-RGK (AGR)
                                             )
12                        Plaintiff,         )
                                             )      ORDER ACCEPTING FINDINGS AND
13       v.                                  )      RECOMMENDATION OF UNITED
                                             )      STATES MAGISTRATE JUDGE
14   G. LIZAOLA, et al.,                     )
                                             )
15                        Defendants.        )
                                             )
16
              Pursuant to 28 U.S.C. § 636, the Court has reviewed the Second Amended
17
     Complaint, records on file, the Report and Recommendation of the United States
18
     Magistrate Judge (“Report”) and the Objections. Further, the Court has engaged in a
19
     de novo review of those portions of the Report to which Defendant Cruz has
20
     objected. The Court accepts the findings and recommendation of the Magistrate
21
     Judge.
22
              Defendant Cruz objects that Plaintiff has not alleged that he was in custody as
23
     a pretrial detainee for purposes of Claim Three. Plaintiff alleges, however, that the
24
     events underlying Claim Three occurred after he was arrested, beaten and taken to
25
     the hospital, and before the felony complaint was filed against him. (Second
26
     Amended Complaint (“SAC”) at 11-13.) Defendant’s objection is without merit.
27
              IT IS ORDERED that Defendants’ motion to dismiss the Second Amended
28
     Complaint is GRANTED IN PART AND DENIED IN PART as follows:.
 Case 5:18-cv-00560-RGK-AGR Document 115 Filed 09/23/21 Page 2 of 2 Page ID #:718



1             (1) the motion to dismiss Claim One against Defendant Lizaola is denied,
2             (2) the motion to dismiss Claim One against Defendants Hendrickson, Wilson,
3    Cruz, and Chavez is granted without leave to amend;
4             (3) Claim Two against all Defendants is dismissed without leave to amend;
5             (4) the motion to dismiss Claim Three under 42 U.S.C. § 1983 against
6    Defendant Cruz is denied;
7             (5) Claim Three under 42 U.S.C. § 1985 is dismissed;
8             (6) Defendant Fitch is dismissed; and
9             (7) Defendant Lizaola is ordered to respond to Claim One and Defendant Cruz
10   to respond to Claim Three under 42 U.S.C. § 1983 within 30 days after entry of this
11   order.
12
13   DATED: September 23, 2021
                                                    R. GARY KLAUSNER
14                                                United States District Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 2
